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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. CR 22-194 (SRN/ECW)

UNITED STATES OF AMERICA,                )
                                         )
       v.                 Plaintiff,     )         ORDER TO CONTINUE
                                         )    TRIAL AND EXCLUDE TIME UNDER
DANIEL JAMES HART, JR.,                  )        THE SPEEDY TRIAL ACT
                                         )
                        Defendant.       )


Justin Wesley and Samantha Bates, Assistant United States Attorneys, 300 South Fourth
Street, Room 600, Minneapolis, MN 55415, counsel for the Government.

Andrew M. Irlbeck, Andrew Irlbeck, Lawyer, Chartered, 332 Minnesota St.. Suite W1610,
St. Paul, MN 55101, counsel for Defendant.


       This matter is before the Court upon Defendant’s motion to continue trial and

exclude time under the speedy trial act [Doc. No. 35]. In his motion and supporting

Statement of Facts, Defendant Hart asks for additional time to properly prepare for trial

[Doc. No. 36].

       Because the ends of justice served by a continuance outweigh the public's interest in

a speedy trial, as contemplated by 18 U.S.C. § 3161(h)(7)(A), it is hereby ordered that the

trial in the above-captioned case is continued until January 9, 2023. A Trial Notice and

Final Pretrial Order will be issued separately.

       In addition, IT IS HEREBY ORDERED that period of time – from the date of this

Order through January 9, 2023 – shall be excluded from the Speedy Trial Act computations

in this case.
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Dated: September 29, 2022            s/Susan Richard Nelson
                                     SUSAN RICHARD NELSON
                                     United States District Judge
